 The People of the State of Colorado, Plaintiff-Appellee,  v.  Rodney Wayne Smith, Defendant-Appellant. No. 19CA1092Court of Appeals of Colorado, Seventh DivisionDecember 16, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                El
      Paso County District Court No. 17CR6909 Honorable David L.
      Shakes, Judge
    
    
               
      OPINION
    
    
               
      NAVARRO JUDGE
    
    
               JUDGMENT
      AFFIRMED.
    
    
                Grove
      and Pawar, J.J ., concur.
    
    
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